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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
       vs.                                       )                   8:08CR183
                                                 )
RONALD PROKUPEK and                              )                 TRIAL ORDER
CHRISTINE McGLOTHLEN,                            )
                                                 )
                      Defendants.                )


       This matter was removed from the trial docket at the request of the defendants, upon
representations that each defendant intended to enter a change of plea. The September 8,
2009 trial date was cancelled, and plea hearings were set for October 19, 2009 before Judge
Smith Camp and the undersigned. On October 15, 2009, however, counsel for each defendant
advised the court that there was no plea agreement.

       IT IS ORDERED:

        1. The plea hearings set for October 19, 2009 before Judge Smith Camp (Ronald
Prokupek) and Magistrate Judge Gossett (Christine McGlothlen) are cancelled, and this case
is returned to the active trial docket.

        2. This case is scheduled for a jury trial before the Honorable Laurie Smith Camp,
District Court Judge, to begin November 17, 2009 at 9:00 a.m. in Courtroom No. 2, Third
Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska;
because this is a criminal case, defendant must be present in person

         3. In accordance with 18 U.S.C. § 3161(h)(7)(A), I find that the ends of justice will be
served by returning this matter to the active trial docket and outweigh the interests of the public
and the defendant in a speedy trial. The time arising as a result of the granting of the motion,
i.e., the time between October 19, 2009 and November 17, 2009, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act, 18 U.S.C. §
3161 because counsel require more time to effectively prepare the case, taking into account
the nature of the case and the exercise of due diligence. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).

       DATED October 15, 2009.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
